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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

 MERLIN KAUFFMAN,
 an individual,

         Plaintiff,

 v.                                              CASE NO. 3:20-cv-17-MMH-JBT

 TRANS HIGH CORPORATION, a New
 York company and HIGH TIMES HOLDING
 CORPORATION, a Delaware company

     Defendants.
 _______________________________/

        DEFENDANTS’ MOTION TO MODIFY SCHEDULING ORDER
       WITH RESPECT TO A DEPOSITION OF PLAINTIFF OR IN THE
      ALTERNATIVE WITH RESPECT TO A DEPOSITION OF PLAINTIFF
       FOR THE LIMITED PURPOSE OF ESTABLISHING PLAINTIFF’S
                        LACK OF STANDING

         Defendants Trans High Corporation and High Times Holding Company

 (collectively, “Defendants”) move to modify the scheduling order with respect to

 deposing Plaintiff or in the alternative, deposing Plaintiff for the limited purpose

 of establishing Plaintiff’s lack of standing and state in support:

                             FACTUAL BACKGROUND

      1. In the December 28, 2019 chat transcript that is the subject of this

         complaint, Plaintiff Merlin Kauffman identified Trellian Pty Ltd

         (“Trellian”) as the “buyer.” [Compl, Ex. B, D.E. 1, p. 31].




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    2. Around July 13, 2020, Michael Kapin (“Kapin”) was admitted, pro hac

       vice, to represent Defendants. [D.E. 33].

    3. On March 10, 2021, the Behar Law Firm, P.A. (“Behar Law”) as counsel for

       Defendants, filed a Motion to Modify Scheduling Order to allow Behar Law

       to “get up to speed as lead counsel.” [D.E. 48, ¶ 4]. Behar Law further

       indicated in its motion that it could not “squeeze” further discovery into

       the compressed discovery deadline. Id.

    4. On March 18, 2021, Kapin moved to withdraw. [D.E. 51].

    5. On April 6, 2021, the Court entered an order granting Kapin’s motion to

       modify scheduling order and to withdraw. [D.E. 54]. The Court specifically

       found that Defendants “agreed to relatively short deadlines, including a

       discovery period of approximately six months, which took place entirely

       during the COVID-19 pandemic.” [D.E. 55].

    6. The April 6, 2021 Order set the discovery deadline for May 31, 2021. [D.E.

       55].

    7. On May 27, 2021, Behar Law advised Defendants of their intent to

       withdraw. [D.E. 69, ¶ 4].

    8. Behar Law served as lead counsel for three months before they sought

       leave to withdraw. During this period of time, perhaps because of

       insufficient opportunity to “get up to speed as lead counsel,” the Behar Law

       Firm did not seek to depose Kauffman.



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    9. On a hearing held on November 4, 2021, Defendants informally requested

       the deposition of Plaintiff without limitation as to topics, and this request

       was denied.

    10. The current discovery cutoff has expired.

    11. On November 8, 2021, this Court entered an Amended Case Management

       and Scheduling Plan. [D.E. 101].

                             MEMORANDUM OF LAW

       The Behar Law Firm’s confessed failure to “get up to speed” as late as

 March 10, 2021 and inability to “squeeze” the deposition of the opposing party

 within the discovery deadline constitutes good cause. The “volume of cases”

 constitutes a basis for good cause. Roofing v. State Farm, No. 1:18-cv-4329, 2019

 U.S. Dist. LEXIS 233119, at *3 (N.D. Ga. Nov. 19, 2019) (citing Gerald v.

 Locksley, 849 F. Supp. 2d 1190, 1248 (D.N.M. 2011)).

       Even if the Behar Law Firm’s failure to “squeeze” the deposition of the

 foundational witness does not constitute good cause, the “independent duty to

 review standing as the basis for jurisdiction at any time” overrides the good cause

 requirement. Citibank v. Pietranico, 1:11-cv-1802, 2012 U.S. DIST Lexis 193289,

 at *19 (N.D. Ga. Aug. 17, 2012) (quoting Fla. Ass’n of Med. Equip. Dealers v.

 Apfel, 194 F.3d 1227, 1230 (11th Cir. 1999)) (permitting defendant to raise

 affirmative defense of standing past scheduling order deadlines).




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          Courts have permitted parties to conduct “additional discovery for the

 limited purpose of conducting discovery on issues related to standing” past the

 discovery cutoff. See Estate of Risher v. City of L.A., 17-995, 2019 U.S. Dist.

 LEXIS 164904, at *2-3 (C.D. Cal. July 16, 2019) (permitting standing-related

 discovery based on statements made in plaintiff’s deposition).

          It would be in the interests of judicial economy to permit a thorough

 examination of Plaintiff’s standing to enforce an agreement that he asked not to

 be a party to. Defendants have the right to fully explore this issue in trial and

 raise the issue of standing “even after trial and entry of judgment” because the

 “issue of standing goes to this Court’s subject matter jurisdiction.” Daniel v.

 Navient Sols., LLC, 8:17-cv-02503, 2018 U.S. Dist. LEXIS 221248, at *6 (M.D.

 Fla. Oct. 4, 2018) (quoting Arbaugh v. Y & H Corp., 546 U.S. 500, 506 (2006);

 Suncoast Waterkeeper v. City of Gulfport, 8:17-cv-35, 2017 U.S. Dist. LEXIS

 122361, 2017 WL 3328398, at *3)). Permitting the exploration of standing now,

 through deposition, could eliminate the need for trial on dispositive undisputed

 facts.

          While the Defendants maintain that the transcript on its face establishes a

 lack of standing, in an abundance of caution, Defendants seek to conduct a

 deposition limited to the subjects of 1) Plaintiff’s relationship with Trellian, 2)

 Plaintiff’s knowledge about the governance and operations of Trellian, and 3) the

 reason why Plaintiff expressly requested that he not be identified as a party to the

 agreement.

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       Plaintiff will not be prejudiced by this request because the burden is on

 Plaintiff to establish standing. “Standing is a jurisdictional inquiry, and a ‘party

 invoking federal jurisdiction bears the burden’ of establishing that he has

 standing to sue.’” ACLU of Fla. v. Dixie Cty., Fla, 690 F.3d 1244, 1247 (11th Cir.

 2012) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992)). If

 Plaintiff cannot meet this burden in discovery, Plaintiff would not be able to meet

 this burden at trial.

       Defendants therefore respectfully request a modification to the scheduling

 order permitting Defendants to depose Plaintiff without limitation, or in the

 alternative, limited to the three topics stated above, and enlarging the time to file

 a motion for summary judgment to allow for a more thorough analysis of

 standing. If the instant motion is granted, the modified deadlines would be as

 follows:

  DEADLINE OR EVENT                  CURRENT                 PROPOSED
                                     DEADLINE                NEW DEADLINE

  Discovery Deadline                 May 31, 2021            February 25, 2022

  Dispositive and Daubert            February 4, 2022        March 15, 2022
  Motions

  All Other Motions Including        May 31, 2022            Same
  Motions In Limine

  Joint Final Pretrial Statement     June 13, 2022           Same

  Final Pretrial Conference          June 20, 2022           Same
                                     10:00 A.M.
  Trial Term Begins                  July 5, 2022            Same
                                     9:00 A.M.

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        WHEREFORE, Defendants respectfully request:

       1) Modification to the Amended Case Management and Scheduling Order

          [D.E. 101], to allow for the deposition of Plaintiff;

       2) Alternatively, Modification to the Amended Case Management and

          Scheduling Order [D.E. 101] to allow for the deposition of Plaintiff for

          the limited purpose of establishing lack of standing.

                           Local Rule 3.01(g) Certification

       Pursuant to Local Rule 3.01(g), I certify that on December 16, 2021, the

 undersigned counsel conferred by telephone with Plaintiff’s counsel in a good

 faith effort to resolve the issuance of a third-party subpoena, which Plaintiff

 opposed. On December 30, 2021 and December 31, 2021, the undersigned

 counsel conferred by e-mail with Plaintiff’s counsel in a good faith effort to

 resolve this motion. Plaintiff, however, is opposed to modification of the

 scheduling order.


                                               Respectfully submitted,


                                               ______________________
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                         CERTIFICATE OF SERVICE

       I certify that on December 31, 2021, the foregoing documents have been

 furnished by e-portal to Darren Spielman, Concept Law Group, PA, 6400 N.

 Andrews Ave., Suite 500, Ft Lauderdale, FL 33309; (754) 300-1500;

 rkain@complexip.com and DSpielman@ConceptLaw.com.




                                            ________________________
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